                               UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION


     JENNIFER HALL, personal representative of
     the Estates of Joseph R. Kalister, M.D., Betty
     J. Kalister, and Nicole M. Kalister, et al.,
                                                      Case No. 3:17-cv-01340
            Plaintiffs,
                                                      Judge William L. Campbell, Jr.
     v.                                               Magistrate Judge Alistair E. Newbern

     HARTZELL ENGINE TECHNOLOGIES,
     LLC,

            Defendant.


                                     MEMORANDUM ORDER

           The parties have filed a joint motion for an extension of all remaining case management

  deadlines. (Doc. No. 115.) For the reasons that follow, the motion will be denied.

I.         Relevant Background

           This case arises out of the June 28, 2015 crash of a private aircraft piloted by Joseph R.

  Kalister that resulted in his death and the death of his wife and daughter. This action was filed in

 the Circuit Court of Montgomery County, Alabama, on June 27, 2017; removed to the Middle

 District of Alabama on July 28, 2017; and transferred to this Court on October 4, 2017. (Doc.

 No. 1.) Plaintiffs had filed a lawsuit addressing the same plane crash against other defendants in

 Davidson County Circuit Court on June 24, 2016, and anticipated coordinating discovery between

 the federal and state actions.

           Judge Trauger entered an initial case management order on December 7, 2017, that set the

 close of fact discovery on February 15, 2019, and the deadline for filing dispositive motions on

 July 1, 2019. (Doc. No. 27.) Judge Trauger set the jury trial to be held on November 5, 2019. (Doc.




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No. 25.) Two weeks later, Defendant moved for and was granted a sixty-day extension of the time

in which to make its initial disclosures. (Doc. Nos. 28, 29.)

       The case was transferred to Judge Campbell on January 25, 2018, with the existing case

management deadlines in place. (Doc. No. 30.) The docket reflects no significant activity in the

litigation between that date and November 5, 2018, when the parties filed the first joint motion to

extend all outstanding deadlines and continue the trial date by 120 days. (Doc. No. 35.) Counsel

stated that the parallel state-court action had been stayed while a defendant pursued an

interlocutory appeal of a personal jurisdiction ruling that was ultimately denied. The parties stated

that they had attended an inspection of the aircraft wreckage on November 1, 2018, and had

planned depositions to be cross-noticed in both cases. (Id.) The joint motion asserted that

“[c]ounsel for all parties are experienced in aviation accident litigation and have been working

constructively to efficiently advance this case towards trial and to resolve their disputes.” (Id. at

PageID# 240.)

       Defendant filed a motion for summary judgment on November 9, 2018. (Doc. No. 40.) On

November 12, 2018, the parties filed a second joint motion to extend case deadlines, stating their

agreement that Plaintiffs would require time to take discovery before responding to the motion for

summary judgment, although “the parties disagree on the permissible scope of that discovery and

are presently drafting a joint request for a discovery conference to address this issue.” (Doc.

No. 44, PageID# 475.) The Magistrate Judge held a telephone conference with counsel on

November 13, 2018, and again on November 20, 2018, to discuss that dispute. The Magistrate

Judge issued an order on November 20, 2018, ordering the parties to meet and confer regarding

the scope of additional e-discovery searches and setting deadlines for production of certain subject

documents on December 20, 2018, and January 28, 2019. (Doc. No. 47.) In a telephone conference




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held on December 6, 2018, 1 the parties notified the Court that they could not meet the December

20, 2018 deadline but had agreed to produce the discovery for inspection on January 23 and 24,

2019. (Doc. No. 49.)

       On January 22, 2019, the parties filed a third joint motion to extend all case deadlines and

reset the trial date. (Id.) The parties stated that—18 months after the case was filed—they

“anticipate[d]” taking a large number of depositions in the federal and state cases and “expect[ed]

a large volume of materials will be produced in discovery[.]” (Id. at PageID# 572.) The Magistrate

Judge granted the motion in part, extending the discovery deadline to September 30, 2019, and the

dispositive motion deadline to March 2, 2020. (Doc. No. 50.) The Magistrate Judge set the revised

target trial date as August 11, 2020. On June 13, 2019, Judge Campbell denied Defendant’s motion

for summary judgment without prejudice to refiling after the conclusion of discovery. (Doc.

No. 55.)

       On September 12, 2019, the parties filed a fourth joint motion to extend discovery

deadlines. (Doc. No. 60.) Counsel reported that they had “been diligently coordinating discovery

and working constructively with each other towards advancing” the state and federal cases towards

trial. (Id. at PageID# 613.) Counsel reported having exchanged a large volume of written discovery

and taken seven depositions. (Doc. No. 60.) They stated that additional time was needed to

accommodate a second inspection of the aircraft that had taken place on September 9 and 10, 2019,

and to allow for destructive testing to take place on September 25 and 26, 2019. (Id.) Counsel also

anticipated deposing Defendant’s Rule 30(b)(6) representative and taking “as many as ten (10)

additional, non-party fact witness depositions.” (Id. at PageID# 614.)



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        This telephone conference is not reflected in the Court’s docket but is summarized in the
parties’ joint motion filed on January 22, 2019. (Doc. No. 49.)



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       The Magistrate Judge set a telephone conference on the motion and ordered counsel to

agree upon an amended case management order that would not require resetting the August 11,

2020 target trial date under the Court’s Local Rules. (Doc. No. 61.) Counsel could not do so, and

the Magistrate Judge ordered them to file a motion to reset the trial date for Judge Campbell’s

consideration. (Doc. No. 62.) The Magistrate Judge continued the existing discovery deadlines

pending Judge Campbell’s ruling, but ordered that “the parties shall not stay their discovery efforts,

but shall continue to litigate this action diligently.” (Id. at PageID# 620.)

       The parties moved to continue the trial date. (Doc. No. 64.) On October 2, 2019, Judge

Campbell reset the trial for February 8, 2021. (Doc. No. 65.) Based on this amended trial date, the

Magistrate Judge set the conclusion of discovery on March 30, 2020, and the dispositive motion

deadline on August 29, 2020. (Doc. No. 66.)

       Plaintiffs filed a motion to amend the complaint on October 16, 2019. (Doc. No. 67.) The

Magistrate Judge granted the motion to amend on November 14, 2019. (Doc. No. 73.) Defendant

moved for and received an extension of time to answer the amended complaint (Doc. Nos. 75, 76)

and filed its answer on December 13, 2019 (Doc. No. 77). Plaintiffs moved to strike or dismiss

Defendant’s fifth affirmative defense on January 3, 2020. (Doc. No. 78.)

       On March 10 and 11, 2020, Plaintiffs filed a motion to compel Defendant’s production of

certain documents (Doc. No. 84) and a motion to vacate the parties’ agreed protective order (Doc.

No. 88). The motion to compel addressed discovery related to issues raised by Defendant’s

summary judgment motion, filed sixteen months earlier. On March 23, 2020, Defendant filed a

motion to amend its answer. (Doc. No. 92.) All three motions were opposed. (Doc. Nos. 95, 96,

99.)




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        On March 23, 2020, the parties filed a fifth joint motion to extend discovery deadlines.

(Doc. No. 94.) The Magistrate Judge held a telephone conference on the motion and extended the

discovery deadline to May 29, 2020, and the dispositive motion deadline to October 7, 2020. (Doc.

No. 106.) The Magistrate Judge stated that this extension was “not an invitation to throw open the

gates and begin discovery anew” and ordered that the scope of any further discovery be guided by

the basis of the parties’ joint motion—“namely, the identification of documents not previously

disclosed in upcoming depositions or in the process of completing expert reports and any discovery

necessitated by rulings on the pending motion to strike, motion to amend, motion to vacate the

parties’ protective order, and motion to compel.” (Id. at PageID# 1458) (record citations omitted).

During the telephone conference, the Magistrate Judge warned the parties that the dispositive

motion deadline could not be extended further under Local Rule 16.01(h)(1) and that they should

not expect any further continuance of the February 8, 2021 trial date.

       On April 29, 2020, Plaintiffs informed the Court that the related Tennessee state court

action had settled and, accordingly, that no further discovery would be taken in that action. (Doc.

No. 108.)

       On May 8, 2020, the Magistrate Judge denied Defendant’s motion to amend its answer.

(Doc. No. 110.) On May 22, 2020, Defendant sought review of that order. (Doc. No. 113.) On June

22, 2020, Judge Campbell granted in part and denied in part Plaintiffs’ motion to strike

Defendant’s fifth affirmative defense and affirmed the Magistrate Judge’s order denying

Defendant’s motion to amend the answer. (Doc. No. 119.)

       On May 29, 2020, the parties filed a sixth joint motion to extend the case management

deadlines. (Doc. No. 115.) Although the parties agreed on the need for extensions of all deadlines,

they again disagreed on the scope of the remaining discovery. On August 5, 2020, the Magistrate




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       Judge held a telephone conference with the parties regarding their pending motion to extend the

       case deadlines. (Doc. No. 120.) The Magistrate Judge again informed the parties that they should

       not expect a continuance of the February 8, 2021 trial date and that they should not delay their

       efforts to conclude discovery. The Magistrate Judge took the motion under consideration while the

       Plaintiffs’ motion to compel and motion to vacate the protective order were pending.

              On September 15, 2020, the Magistrate Judge granted Plaintiffs’ motion to compel and

       granted in part Plaintiffs’ motion to vacate the protective order. (Doc. Nos. 122, 123.) The

    Magistrate Judge ordered Defendant to complete the additional production mandated by these

    orders by September 30, 2020.

 II.          Legal Standard

              The extending of deadlines set in a pretrial scheduling order is generally governed by

    Federal Rule of Civil Procedure 16(b)(4), which provides that “[a] schedule may be modified only

    for good cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4).

III.          Analysis

              Good cause does not exist to grant the further extensions of case deadlines that the parties

       again seek. The joint motion to extend case management deadlines now before the Court is the

       sixth that the parties have filed over the more-than-three-year course of this litigation. But in the

       August 5, 2020 telephone conference, counsel gave an account of remaining discovery that was

       nearly as extensive as the accounts they had given at the outset of the case—including one or two

       additional inspections of the plane wreckage and multiple fact and expert witness depositions.

              The Magistrate Judge assumes that the parties have continued to pursue that outstanding

       discovery since the August 5, 2020 telephone conference. The Magistrate Judge has repeatedly

       warned counsel that they should not expect any further continuance of the February 8, 2021 trial




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date, which is the third set in this action. 2 As counsel well know, the dispositive motion deadline

cannot be extended further with that trial date in place. See M.D. Tenn. R. 16.01(h)(1) (dispositive

motions and target trial dates).

        Accordingly, the following case management deadlines are confirmed:

        Fact discovery shall conclude by September 30, 2020. The scope of any remaining

discovery is that articulated in the Magistrate Judge’s April 16, 2020 order: documents not

previously disclosed that are identified in upcoming depositions or in the process of completing

expert reports and any discovery necessitated by rulings on the motion to strike, motion to amend,

motion to vacate the parties’ protective order, and motion to compel.

        Any dispositive motions shall be filed by October 7, 2020. 3 Responses in opposition shall

be filed 20 days after the motion. Any optional reply shall be filed 7 days after the response.

        Expert discovery remains outstanding. The parties shall meet and confer to establish an

agreed calendar for the conclusion of expert disclosures and depositions. A joint notice of the

agreed calendar shall be filed by September 25, 2020.

        The parties were ordered to file a joint statement of their dispute resolution efforts by

August 10, 2020, but have not done so.4 (Doc. No. 106.) The parties shall file a detailed statement

of their case resolution efforts to date and plan for future efforts by October 2, 2020.




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        The August 11, 2020 target trial date was not formally entered by Judge Campbell, but was
the presumptive trial date from January 25, 2019, to October 2, 2019.
3
        The Magistrate Judge notes that Defendant filed its motion for summary judgment, which
articulated the same arguments made in its recent opposition to Plaintiffs’ motion to compel, on
November 9, 2018. The intervening almost-two years of discovery was allowed for the benefit of
Plaintiffs’ response.
4
       In the April 16, 2020 order, the Magistrate Judge stated: “The parties shall note that the
Court has set an earlier deadline to file a joint statement of their good-faith efforts at case resolution


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IV.          Conclusion

             For these reasons, the parties’ joint motion to extend the case management order deadlines

   (Doc. No. 115) is DENIED.

             It is so ORDERED.



                                                          ____________________________________
                                                          ALISTAIR E. NEWBERN
                                                          United States Magistrate Judge




      than the deadline requested in their motion. This is to ensure that the parties engage in case
      resolution efforts well before the dispositive motion deadline.” (Doc. No. 106, PageID# 1459 n.1.)



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